AO 247 (NC/W 3/15)   Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Western District of North Carolina
                  United States of America
                               v.                                       )
                                                                        )   Case No:        0419 5:06CR00030
                      Walter Charles Hogue                              )   USM No:         20818-058
Date of Original Judgment:     February 26, 2008                        )
Date of Last Amended Judgment:                                          )   Caleb H. Newman
                                                                        )   Defendant’s Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)
AND NOW, this 24th day of July, 2015,
        Upon motion of ☒ the defendant ☐ the Director of the Bureau of Prisons ☐ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction of sentence pursuant to Amendment 782 to the Sentencing Guidelines, and taking into
account the policy statement set forth at USSG § 1B1.10 and the sentencing factors set forth in 18 U.S.C. § 3553(a), to
the extent that they are applicable,

IT IS ORDERED that the motion is:
       ☐ DENIED. ☒ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 168 months is reduced to 136 months.
If the amount of time the defendant has served as of November 1, 2015, exceeds the reduced sentence stated in this
Order, the sentence is instead reduced to a sentence of time served as of November 1, 2015.

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Original Offense Level:    35                Amended Offense Level:     33
Criminal History Category: VI                Criminal History Category: VI
Original Guideline Range:  292 to 365 months Amended Guideline Range: 235 to 293 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
☐ The reduced sentence is within the amended guideline range.
☒ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing and the reduced sentence is comparably less than the amended guideline range.
☐ The reduced sentence is above the amended guideline range.
☐ Amendment 782 is subject to a Special Instruction at USSG §1B1.10(e)(1) that reduced sentences shall not take effect
   until November 1, 2015, or later. Since this defendant’s projected GCT release date is, Amendment 782 is not
   applicable in this case.
☒ The Reduced sentence is based upon Amendment ☐ 750                ☒ 782
☐ Other (explain):
III. ADDITIONAL COMMENTS
Upon release from imprisonment, and absent a residential plan accepted by the U.S. Probation Office prior to release
from incarceration, it is ordered that as a condition of supervised release the defendant shall submit to the local Resident
Reentry Center for a period not to exceed 90 days, with work release, at the direction of the U.S. Probation Office.

Except as provided above, all provisions of the judgment dated February 26, 2008 shall remain in effect.
IT IS SO ORDERED.

Order Date:      August 13, 2015                                      Signed: August 13, 2015

Effective Date: November 1, 2015
                 (if different from order date)



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